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AO 91 (Rev. LI/11) Criminal Complaint

 

UNITED STATES DISTRICT COURT

for the
Northern District of New York

 

 

 

United States of America )
v. )
5:19-MJ- ATe)
ERIS CRUZ Case No. aL
)
)
)
Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of Nov. 2018 to January 8, 2019 in the county of Lewis and elsewhere in the
Northern District of New York , the defendant(s) violated:
Code Section Offense Description
Title 21, United States Code, Conspiracy to possess with intent to distribute and distribute 100 grams or
Sections 841(a)(1) and 846 more of a mixture and substance containing a detectable amount of heroin, a

Schedule | controlled substance, and 500 grams or more of a mixture and
substance containing a detectable amount of cocaine, a Schedule II
controlled substance.

This criminal complaint is based on these facts:

See Attached Affidavit.

M Continued on the attached sheet.

C2 =

tp fA,
Complainant ‘ignature

SA Anthon Halt DEA

 

Printed name and title

Sworn to before me and signed in my presence.

Date: _ 01/08/2019 A, K Ac
- Judge ‘'s sign ture —_

City and state: Syracuse, NY Hon. Andrew T. Baxter, U.S. Magistrate Judge

Printed name and title
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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF NEW YORK

AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT

A. Background

I, Anthony Hart, having been duly sworn, do hereby state and depose as follows:

l. I am a Special Agent employed by the United States Department of Justice, Drug
Enforcement Administration (“DEA”), and as such I am an “investigative or law enforcement
officer” of the United States within the meaning of Section 2510(7) of Title 18, United States
Code, that is, an officer of the United States who is empowered by law to conduct investigations
and to make arrests for offenses enumerated in Title 21 United States Code, Section 801, et. sec.,
and Title 18, United States Code, Section 2516. I have been a DEA Special Agent since
November, 1999. I am currently assigned to the DEA Syracuse Resident Office, Syracuse, New
York. I have participated in numerous successful investigations into illicit drug distribution
networks and have interrogated numerous defendants, informants and others who were sellers,
distributors, or users of narcotics and other illicit drugs. Also, I have been involved in the
monitoring, intercepting and recording of court-ordered wiretaps, and have participated in
numerous search warrants/arrest warrants involving narcotics trafficking. In addition to my
above-mentioned experience, I have had the opportunity to speak with and observe other federal
and state narcotics officers with regard to the manner in which narcotics are possessed, sold and
distributed in the Northern District of New York area. I have participated in numerous searches
of residences, businesses and vehicles in which controlled substances, drug paraphernalia,

currency and records were discovered. My experience as well as conversations with other law
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enforcement officers, as detailed herein, will serve as the basis for any opinions or conclusions
set forth below. I have personally participated in the investigation of the offenses set forth below
and as a result of my participation and my review of past and present reports made by other
Special Agents of the DEA, and other state and local Jaw enforcement agencies, | am familiar
with the facts and circumstances of this investigation.

B. Purpose of Affidavit

2. This affidavit is submitted in support of a criminal complaint charging Eris
CRUZ, (DOB: XXXX1979) with violations of Title 21, United States Code, Sections 841(a)(1)
and 846, conspiracy to distribute and possess with the intent to distribute 100 grams or more of a
mixture and substance containing a detectable amount of heroin, a Schedule I controlled
substance, and 500 grams or more of a mixture and substance containing a detectable amount of
cocaine, a Schedule II controlled substance. I have reviewed reports and discussed facts relative
to this case with other investigators participating in this investigation and determined their
information to be reliable, | allege the facts set forth in this affidavit show there is probable cause
to believe Eris CRUZ conspired with others to distribute and possess with the intent to distribute
100 grams or more of a mixture and substance containing a detectable amount of heroin, a
Schedule I controlled substance, and 500 grams or more of a mixture and substance containing a
detectable amount of cocaine, a Schedule II controlled substance.

C. Basis of Information

3. As a result of my personal participation in this investigation, I am familiar with
most aspects of this investigation. I have not included each and every fact known to me
concerning the investigation. I have set forth only the facts that I believe are necessary to

establish the necessary foundation for the criminal complaint.
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D. Status of the Case
4. In November 2018, your affiant assisted in the arrest of an individual who was

found to be in possession of a large amount of cocaine and a large amount of heroin. This
individual was charged federally with crimes relating to drug trafficking and firearms offenses,
and was incarcerated pending trial. Subsequent to the arrest, the arrested individual agreed to
cooperate with law enforcement. The individual is now cooperating in the hopes that he/she will
receive leniency in the sentence that he/she ultimately receives relating to the pending federal
charges, and will be referred to hereinafter as Cooperating Defendant | (CD1). | have debriefed
CDI on several occasions, and have found him/her to be credible. I have corroborated the
information provided to me by CD1 via other investigative means, and also via recorded phone
calls made by CD1 in furtherance of their cooperation. CDI has multiple prior arrests and
convictions for crimes related to the possession of stolen property, assault, and drug trafficking
related crimes. A detailed summary of CD1’s criminal history will not be provided here, in an
effort to maintain the confidentiality of CD1’s identity.

5. CD1 informed your affiant that the cocaine and heroin that had been found in
CDI’s possession on the date of CD1’s arrest had come from CD1’s source of supply in the
Bronx borough of New York City. CD1 identified a photograph of CD1’s source of supply. The
source will be referred to hereinafter as “the Source.”

6. CDI informed your affiant that the Source would often send the Source’s brother,
Eris CRUZ, to deliver drugs to CD1. CDI has met with CRUZ on more than one occasion to
obtain cocaine and/or heroin. CD1 would arrange these transactions with the Source, and would

then meet with Eris CRUZ to obtain the drugs. CD1 explained to your affiant that Eris CRUZ
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knows where CD1 lives, and is aware that CD1 returns to Lewis County to distribute the drugs
obtained from Eris CRUZ.

7. Leading up to January 8, 2019, CD1 made controlled calls to the Source,
arranging for a delivery of heroin and cocaine. This meeting was scheduled to take place in
Albany, New York, with the Source understanding that CD1 would return to the Lewis County
area to further distribute the drugs.

8. On January 8, 2019, law enforcement set up surveillance at the agreed upon
meeting location (Home Depot), that CDI had previously arranged with the Source. At
approximately 10:30 AM on January 8, 2019, law enforcement observed Eris CRUZ arrive in the
parking lot of the McDonalds, which was adjacent to the meet location. Cruz was driving a 2007
maroon Land Rover, NY registration JBN-5763. CRUZ squared the Home Depot parking lot as
if looking for counter surveillance or someone he was supposed to meet. He was then observed
driving back over to McDonald’s parking lot, exiting the vehicle, and entering the restaurant with
a female companion and an infant.

9, CRUZ was observed exiting the restaurant at approximately 11:20 AM. As
CRUZ was attempting to enter the driver’s side of the Land Rover, agents detained him. At
11:23 AM, SA Overend issued CRUZ Miranda warnings as witnessed by NYSP Inv. Chinikailo.
CRUZ was asked if he had anything on his person, to which he responded “No.” He was asked
if he had anything in the vehicle, and replied that there was something behind the seat in the
vehicle and pointed towards the rear seat on the driver’s side. Law enforcement opened the rear
door of the Land Rover, and CRUZ indicated that it was behind the seat and between where the

trunk area begins. NY State Police Investigator Ivan Chinikailo folded the seat up and located
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two packages. The packages were heavily taped in brown in color mailing type tape and further
secreted in a black in color plastic shopping bag.

10. The substances were subsequently field tested using the TRUNARC and
TRUDefender by Investigator Chinikailo as witnessed by TFO Evans. The first package field
tested positive for the presence of Heroin and weighed 656 gross grams. The second package
field tested positive for the presence of Cocaine and weighed 826.1 gross grams. Based on my
training and experience, the net weight of the cocaine is at least 500 grams, and the net weight of
the heroin is at least 100 grams.

D. CONCLUSION

Based upon the information detailed above and my experience as a Special Agent with
the Drug Enforcement Administration, there is probable cause to believe that Eris CRUZ
committed violations of Title 21, United States Code, Sections 841(a)(1) and 846: conspiracy to
distribute and possess with the intent to distribute 100 grams or more of heroin, a Schedule |

controlled substance, and 500 grams or more of cocaine, a Schedule II controlled substance.

ANTHONY R. HART, Jr.

Special Agent

Drug Enforcement Administration
Subscribed and sworn to before

me this 8th day of January, 2019
at Syracuse, New York

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Honorable Andrew T. Baxter
United States Magistrate Judge
